    Case 2:15-cv-05346-CJC-E Document 469-59 Filed 12/10/20 Page 1 of 14 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33583




                      Exhibit 1-..
            Evidence Packet in Support of Defendant’s Motions for Summary Judgment


             U.S.D.C., Central District of California, Case No.: 2:15-cv-05346-CJC-E




                                                                                       Exhibit 1KK
                                                         White Decl. ISO Disney's SJ Motion P.0698
    Case 2:15-cv-05346-CJC-E Document 469-59 Filed 12/10/20 Page 2 of 14 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33584




                 ~-->· ,
                    Psy(ution~

                 & "_•r:
                                                                                                Lc:<¥~V. Tury, Pk)',V., '8C8A -V
                                                                                                           Lcwi.W:l@Tev1yPk)'IM.t't-01¾: rom,
                                                                                                                                     P.0.13cnulll1
                                                                                                                               A l.ct,n10; CA 94-50 1
                                                                                                                    phone,-.· (925) 933 -1833
                                                                                                                       fCMv.· (800) 514- -697l/-
                   Ps!J.-li,,f.,!)i,n( Bcfinl'i,m1(
                    &: Pnrmri11!) s,,i11ri,1 11s
                         This repor1 is confiden/lal in nature and ,s part of the clinical record of /his client This document should not be released 10 any
            third pany witl,oul the written consent of the chentlguard,an and the authonzation of the author This report Is for professional use If the
            raw test dala is included m this report, only professionals qualified by /raining and expeoence to interpret such data should allempl to do so
            This report is based on the information available to lhe evalua/or al the lime ol lhe assessmeni and findings were mte1preted as they relate
            to the referral quesr.ons and clinical concerns Use of this report by any unauthonzed others. for olher purposes or al a future dale will limit
            /he validity ot 1h,s report.



                                                 Regional Center of the East Bay
                                              EARLY INTERVENTION AUTISM CLINIC
                                                      Psychological Assessment
                                                                        Confidential

            Consumer's Name: Yaxkin Zavala
            Date of Birth: September 21 , 2009
            Chronological Age: 2 years 6 months
            Date of Evaluation: March 21 , 2012
            Case Manager: Patricia Aguinaga
            Evaluation Psychologist: Larissa D. Terry, Psy.D., BCBA-D

            Reason for Referral
            Yaxkin was referred for a psychological assessment by Patricia Aguinaga, Early
            Intervention Case Manager, as part of the RCEB evaluation process.
            Clarification regarding his diagnosis, specifically a rule out of an autistic spectrum
            di?order, was requested to assist in treatment planning for RCEB services.
            Yaxkin is a 30-month-old boy of Mexican-American descent and the son of
            Mercedes Rosas and Felipe Zavala. Both Spanish and English are spoken in the
            home. He lives in Oakland , California with his parents , sister (6 months),
            maternal grandmother, maternal uncle (age 26), his wife (age 26), and their
            daughter (age 8). Yaxkin was found eligible for RCEB Early Start (age 0-3)
            services on 11 /23/11 at 26 months old due to developmental delays. During the
            course of the evaluation, possible autism symptoms were noted and a referral to
            this Clinic, as well as Applied Behavior Analysis (ABA) autism treatment through
            Si Se Puede made. Yaxkin is currently receiving up to 25 hours per week of ABA
            therapy and is reportedly responding well. His parents would like clarification
            regarding any diagnoses and recommendations for further interventions.                                                                             EXHIBIT




-                                                                         CONFI'DENTIAL



                                                                       CONFIDENTIAL
                                                                                                                                       P ~ l of 13



                                                                                                                                                    YZ,MYR0013

                                                                                                                               Exhibit 1KK
                                                                                                 White Decl. ISO Disney's SJ Motion P.0699
    Case 2:15-cv-05346-CJC-E Document 469-59 Filed 12/10/20 Page 3 of 14 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33585




            Procedures
            Review of Record
            Review of Recent Cognitive/Developmental Evaluations
            Autistic Spectrum Disorders Interview
            Autism Diagnostic Observation Sche•dule-Generic (ADOS) - Module 1
            Interview with Mother
            Behavioral Observations

            Relevant Background History
            This is a synopsis of pertinent background history. Sources for the following
            information include Yaxkin's RCEB file and interview. For a more detailed history
            please see the complete RCEB file.

            Yaxkin was the 5-pound 5-ounce product of a 35-week pregnancy complicated
            by high blood pressure at 32 weeks, HELP syndrome, and pre-eclampsia. He
            was delivered via cesarean section and remained in the NICU for 8 days with NG
            tube feedings and mild jaundice. No other concerns were reported. In terms of
            developmental milestones, Yaxkin sat by 6-7 months, did not crawl, and walked
            by 13 months. He _had about five words by 12 months, but then stopped using
            them. He also regressed in the use of pointing (to pictures and body parts). He
            began babbling about 2 weeks ago but still does not have any meaningful words.
            He is stating to use PECS and sign language but requires prompting. Ms. Rosas
            noted that she first became concerned about Yaxkin's development by 12
            months old, as she remembers coming home from the doctor and Yaxkin
            chewing on a book he was given (rather than playing with it appropriately).
            Yaxkin was assessed by RCEB at 26 months and found to have developmental
            delays and autism symptoms. He was referred to ABA therapy and this Clinic for
            further assessment. He did not start ABA therapy until 1/23/12 due to being on
            vacation. His mother would like him to start speech therapy, but was reportedly
            recommended to wait until he had some time to benefit from ABA therapy so he
            would be better able to participate. He has had no other daycare, preschool , or
            interventions.

            In terms of health history, Yaxkin was hospitalized for one day at 11 months, 15
            months, 21 months, and 29 months due to bronchiolitis. He has a history of
            asthma and three ear infection. His arm was placed in a cast when he broke it at
            24 months after falling off a chair. His mother noted he did not really fuss so they
            did not even know it was broken until the next day (high pain tolerance). He is
            otherwise generally healthy. In terms of extended family history, there is a
            maternal second cousin with speech delay and ADHD , and a maternal great
            grandmother with a seizure disorder. Mr. Zavala's sister lost her hearing at 3
            years old due to a car accident. His second cousin is receiving speech therapy.
            His other cousin has Down Syndrome. Yaxkin's sister was described as typically
            developing. No other developmental or mental health concerns were reported for
            the extended family.



                                                CONFIDENTIAL



                                              CONFIDENTIAL
                                                                                    P ~ 2 of13



                                                                                           YZ,MYR0014
                                                                                                           -
                                                                                             Exhibit 1KK
                                                               White Decl. ISO Disney's SJ Motion P.0700
    Case 2:15-cv-05346-CJC-E Document 469-59 Filed 12/10/20 Page 4 of 14 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33586




            Previous Diagnoses and Psychological Testing
            According to records, Yaxkin was assessed by RCEB/ChildSolutions (11/23/11 ).
            Bayley Scales of Infant and Toddler Development-I ll: Cognitive = 65, Language
            = 47, Motor= 67. Vineland Adaptive Behavior Scales-II: Communication 8
            months, Daily Living Skills= 7-22 months, Socialization= 6-10 months, Motor=
            19-23 months, Adaptive Living Composite= 71. Modified Checklist for Autism in
            Toddlers (autism screener): Positive (indicating further autism assessment
            warranted). During the course of the evaluation, possible autism symptoms
            including regression in language and pointing, dislike of groups of people,
            mouthing, no interaction with children, running and screaming when excited ,
            temper tantrums, no pointing, no response to name, difficulty with transitions, no
            sense of danger, high activity level, limited eye contact, rubbing of objects on his
            face, resistance to interacting with the examiners, repetitive consonant-vowel
            combinations (e.g ., "ma-ma-ma") with no other words used, no attempts to gain
            other's attention, and few play skills were noted. He was found eligible for RCEB
            Early Start services due to a diagnosis of Developmental Delay in cognitive,
            communication, social-emotional, and adaptive skills (with a request to rule out
            an autism spectrum disorder noted). Intensive treatment and further autism
            assessment were recommended .

            Yaxkin was assessed by RCEB/Marcello Forte MS, CCC-SLP (12/1/11).
            Preschool Language Scale-4 (Spanish): Auditory Comprehension = 52,
            Expressive Communication= 62, Total Communication= 52. Possible autism
            symptoms including poor attending, intermittent eye contact, no response to
            name, no following of simple directions, no mean ingful words (says "ma-ma-ma"
            for everything), regression in language (used to say ma, pa, and bottle), no
            pointing, use of other hands like tools (using his mother's hands to clap), and no
            babbling were noted. He was found eligible for RCEB speech/language services.

            Yaxkin was assessed by Si Se Puede Behavioral Intervention, Inc. (2/2/12).
            Current levels of functioning with goals and objectives were listed. Up to 25
            hours per week of ASA therapy was recommended.

            No other psychological or developmental assessments were provided for review
            at the time of this writing.

            Assessment Conditions and Validity
            Yaxkin was assessed in a o ne-on-one session with his mother present. Ms.
            Rosas also participated in an interview. Overall, conditions were deemed
            appropriate and adequate for obtaining a valid representation of Yaxkin's current
            symptoms. Any exceptions or concerns were noted below.

            Behavioral Observations
            Yaxkin presented as an adorable and busy little boy, who came appropriately
            dressed and groomed. Upon greeting him in the waiting area, he glanced at the
            examiner with a neutral expression and did not respond further (running off). He


                                                CONFIVENTIAL                        P~3c,f13



                                              CONFIDENTIAL                                  YZ,MYR0015

                                                                                             Exhibit 1KK
                                                               White Decl. ISO Disney's SJ Motion P.0701
    Case 2:15-cv-05346-CJC-E Document 469-59 Filed 12/10/20 Page 5 of 14 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33587




            climbed into his stroller and was pushed to the assessment room by his mother.
            Once in the room, Yaxkin began exploring a bin of toys, but quickly lost interest
            and got the tray from his stroller, placed his mother's hand on it, and then pulled
            her to the stroller (indicating that he wanted her to put it on the stroller with him
            so they could leave). Ms. Rosas indicated that he often uses other's bodies like
            tools to communicate what he wants. Yaxkin sat in his stroller fussing slightly for
            some time as the adults talked. He screamed whenever his mother tied to
            encourage him to come out, but did play with a pop-up toy for a while when it ·
            was placed in front of him. Soon he began wiggling out of the stroller. Once out
            he engaged in a hop/gallop movement back and forth for a while. He then spun
            in a circle while looking out the periphery of his eyes. He shook his head back
            and forth while looking up at the ceiling, and then wandered around while looking
            at the lines on the floor. He noticed the wire bead toy and moved beads around
            on it for a while. He then saw a car and brought it to the table to chew on the
            wheels. When his mother told him to stop he then turned it over and spun the
            wheels for a while. Yaxkin went to the stroller to get a cracker, screaming to
            indicate what he wanted. He engaged in some jumping and hand-flapping while
            eating the cracker. His mother noted that these high-pitched screams were
            common, although she has been working with him on signing "more".

            Given that Yaxkin would likely have tantrumed if given a break and then brought
            back in, it was decided to go right into the ADOS activities (see below). Yaxkin
            tended to move away from the examiner initially, fussing and climbing on his
            mother whenever he was approached. However, he soon became more
            interested, and even pulled the examiner, placing her hand on his belly to
            request more tickling. After testing was complete, Yaxkin was given a snack and
            the bin of toys while his mother received feedback. He engaged in a lot of
            repetitive movements similar to before, galloping, jumping, spinning, and hand-
                                                                                                           •
            flapping.as he ate. He was preoccupied for a while with making the blocks stack
            just so, so that they were even. His mother noted he often becomes "obsessed~
            with th ings being at certain angles or in certain orders. Yaxkin happily climbed
            into his stroller when he was told it was time to go. Overall, Yaxkin presented as
            a charming boy with developmental delay and clear autism symptoms.
            Additional behavioral observations, including behaviors during the ADOS
            administration , are included in the assessment results below as appropriate.

            ASSESSM ENT RESULTS AND INTERPRETATIONS

            General Developmental/Cognitive and Adaptive Functioning
            Review of recent assessments indicates that as of 11/23/11 (26 months) Yaxkin's
            cognitive functioning was at the 14-month level. His adaptive functioning was
            reported to be within the 6-23 month range. This information was considered in
            evaluating symptoms of autism.




                                                 CONFIDENTIAL                        P ~ 4 of l3



                                               CONFIDENTIA L                                YZ,MYR0016
                                                                                             Exhibit 1KK
                                                               White Decl. ISO Disney's SJ Motion P.0702
        Case 2:15-cv-05346-CJC-E Document 469-59 Filed 12/10/20 Page 6 of 14 Page ID
/
    UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                               #:33588




                Autistic Spectrum Disorders Interview
                Ms. Rosas was interviewed about Yaxkin's historical and current reciprocal social
                interactions, communication, and behaviors as related to diagnoses on the
                autistic spectrum.

                In terms of communic ation, Ms. Rosas reported that Yaxkin communicates
                primarily by using a high-pitched scream or bringing them what he wants and
                placing their hands on things. He uses other's hands like a tool frequently. He
                makes a "ma-ma-ma" sound , and has just started saying "pa-pa" and babbling ,
                but does not yet using these sounds meaningfully. He has also just started
                PECS and is learning to travel to a listener to exchange an icon. He also will do
                a "more" and "open" sign if first modeled or prompted. He does not engage in
                echolalia. He does not yet point, nod or shake his head, or use any other
                gestures. He now looks at others much more, but they are still working on eye
                contact. He will inconsistently look up when they walk into the room and talk to
                him. He just started looking when his name is called 3-4 weeks ago.

                In terms of reciprocal social interaction , Ms. Rosas noted that Yaxkin initiates
                interactions with them by grabbing their hands and pulling them to the floor to sit
                near him. Although he will sometimes get them to sit nearby, he is not yet
                sharing his interests or showing them things. He does not imitate their actions
                around the home and seems content playing on his own most of the time. If they
                try to join his play he may like it sometimes, but at other times (with certain toys)
                he may scream and then go to his room to be alone. He likes rolling a ball back
                and forth, but shows little interest in peek-a-boo. He will very rarely initiate
                interactions with his cousin by smiling at her or standing near her and waiting.
                He will initiate interactions with his baby sister by smelling her head or feet,
                grabbing her hands, or bumping his forehead against hers (kiss). He will become
                irritated if his cousin tries to initiate an interaction with him most of the time and is
                very protective of his toys. He does not imitate or watch his cousin's play. At the
                playground or other places where there are children his age he does not know,
                 Yaxkin shows no interest in children and is usually off doing his own thing. If a
                 child approaches him he usually looks at them briefly and wanders away. He
                treats most children the same (except a 4-year-old nephew who he seems to
                 like). If an adult smiles at him he usually has a neutral expression. He notices
                other's emotions but tends to just stare with no response. His facial expressions
                 are inconsistent but mostly neutral.

                In terms of play and restricted, repetitive, and stereotype d patterns of
                behavior, Ms. Rosas reported that Yaxkin has certain things that he likes to do in
                a particular order, and rituals he insists on. Specifically, he insists that the Velcro
                on his shoes is on straight, wants the chairs lined up evenly, and wants his
                blocks to be stacked tightly together (no uneven cracks). During one of his
                therapy lessons he insists that the straws in the cup are at a certain angle before
                he will proceed. If let to do what he likes at home, Yaxkin would watch the same
                specific movies over and over. He likes to stack his blocks in straight towers and


                                                       CONFT'DfNTIA L                       P ~ S of13



                                                    CONFIDENTIAL                                   YZ,MYR0017

                                                                                                  Exhibit 1KK
                                                                    White Decl. ISO Disney's SJ Motion P.0703
    Case 2:15-cv-05346-CJC-E Document 469-59 Filed 12/10/20 Page 7 of 14 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33589




            then break them apart. He also enjoys scribbling with crayons. Outside he
            enjoys going on the slide only or playing with dirt by watching it fall through his
            hands. He is generally very unfocused and goes from toy to toy. He can
            become obsessive with his iPad games, not letting anyone touch them or sit
            nearby. He is often more interested in parts of toys or objects, such as the
            wheels on cars, lights on toys, or spinning objects. He is not yet engaging in any
            pretend or imaginative play. In terms of sensory interests and sensitivities,
            Yaxkin looks out the periphery of his eyes, lies down sometimes to look at toys,
            visually examines toys and parts, looks at lights on toys and on the ceiling,
            watches ceiling fans, and spinning objects. He is sensitive to the blender and a
            certain vacuum , but then likes other loud noises (motorcycles). He frequently
            mouths objects. He loves the feel of dirt and watches it through his hands or
            pats/rubs it off. He often smells his sister's head or feet, or other's arms. In
            terms of motor mannerisms, Yaxkin engages in a gallop movement, jumps,
            spins, hand-flaps/tenses, and runs back and forth. He does not engage in any
            self-injurious behaviors, although he will attempt to bite, scratch, and hit others
            when upset.

            Overall, Yaxkin demonstrates many social, communicative, and behavioral
            symptoms and deficits associated with autism, according to his mother.

            Autistic Spectrum Disorders Diagnostic Measure
            Yaxkin was administered the Autism Diagnostic Observation Schedule, Generic
            (ADOS) to provide additional information to the examiner in ruling out a possible
            autistic spectrum disorder. Yaxkin was administered Module 1 for children at the
            pre-verbal/sing le words level.

            The ADOS is a semi -structured interaction and observation that provides a series of planned social occasions or
            "presses" in which a behavior of a particular type is likely to occur. Across the session the examiner presents numerous
            opportunities for the individual to exhibit behaviors of interest. A module is chosen to be appropriate based on a particular
            developmental and language level.


            Regarding language and communication, Yaxkin used no words or
            approximations during the administration. He rarely vocalized unless to engage
            in a very high-pitched squeal and quick hum sound. His vocalizations rarely
            seemed directed toward others, as he did not coordinate eye contact, but he did
            often pull on his mother as he screamed. His intonation was clearly high-pitched.
            There was not sufficient language to judge echolalia or stereotyped speech. He
            primarily communicated by pulling others or using their bodies as tools (e.g.,
            pulling the examiner back toward his mother, climbing back on her lap, leaning
            back ward, and then placing the examiner's hand on his belly to indicate he
            wanted more tickles). He did not point in any way, although he did pull on the
            examiner's arm when he wanted something occasionally. He did not use any
            other gestures, other than pointing his two index fingers together when his
            mother showed him a "more" sign.




                                                                  CONFIDENTIAL                                        P ~ 6 of 13




                                                              CONFIDENTIAL                                                       YZ ,MYR0018
                                                                                                                   Exhibit 1KK
                                                                                     White Decl. ISO Disney's SJ Motion P.0704
        Case 2:15-cv-05346-CJC-E Document 469-59 Filed 12/10/20 Page 8 of 14 Page ID
/
    UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                               #:33590




                Regarding reciprocal social interaction , Yaxkin used poorly modulated eye
                contact to initiate, terminate , and regulate social interaction. Specifically, Yaxkin
                rarely looked at the examiner (although his eye contact with his mother was more
                frequent), and when he did it was often fleeting. He looked after she called his
                name the third time with a sustained glance and directed smile. This was the
                only time he directed a facial expression for the purpose of communicating affect
                (tended to smile or fuss to himself). There were few social overtures to judge the
                integration of eye contact and other nonverbal behaviors, and mostly consisted of
                pulling on others or placing their hands on things without coordinated eye
                contact. Yaxkin showed some pleasure in interacting with the examiner during
                peek-a-boo (continued to place the blanket on the examiner's head to continue
                the game) and tickling (placed her hand on his belly). He did not seem to know
                how to make requests otherwise, and often just went to his mother and waited.
                He did not give things or show things to share his interests. There were no
                instances of initiation of joint attention. He was unable to follow the examiner's
                turned head and eyes (or point) as an indication that he should look toward a toy
                across the room. T he overall quality of his social overtures was poor and
                consisted mostly of climbing on his mother, screaming when he wanted
                something , or pulling others/placing their hands on things. However, there were
                some attempts to involve others in physical play occasionally.

                Regarding play, Yaxkin did not really seem to know how to play with most toys
                and showed little interest. His mother attempted to get him interested in the pop-
                up toy several times, and once he was engaged he only continued briefly before
                wanting to climb back onto her lap. He did notice the baby doll and was quite
                preoccupied with flicking its eyes for some time. He then enjoyed pushing a
                string across the floor for a while before he spent the remainder of free play
                plowing his feet through the toys on the floor. Yaxkin did some brief imitation
                with objects upon request, but always visually examined the parts first (e.g. , the
                frog's feet, the airplane propeller). He did not have much interest in the birthday
                party for baby, and was more focused on looking through the fork or flicking the
                baby's eyes. Overall his play skills seemed delayed compared to his
                developmental level or atypical.

                Regarding stereotyped behaviors and restricted interest and other abnormal
                behaviors, Yaxkin had a definite interest in nonfunctional elements of play
                materials, and engaged in sensory examination on more than one occasion.
                Specifically, Yaxkin was preoccupied with visually examining objects and parts
                (although briefly most of the time), looking at the lines on the floor, looking out
                the periphery of his eyes, and looking at lights. He showed definite hand or other
                stereotypes, including jumping, galloping, spinning, hand-flapping, and shaking
                his head. He did not attempt to harm himself. Repetitive or stereotyped interests
                and/or behaviors formed the majority of his interests, but he could be redirected
                to other things if they were very interesting . He sat briefly or stood still when
                expected to do so, but often got up abruptly if items in front of him were not
                interesting. He had an occasional display of mild upset, anger, aggression,




•                                                    CONFIVENrIA L




                                                   CONFIDENTIAL                                  YZ,MYR0019

                                                                                                 Exhibit 1KK
                                                                   White Decl. ISO Disney's SJ Motion P.0705
    Case 2:15-cv-05346-CJC-E Document 469-59 Filed 12/10/20 Page 9 of 14 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33591




            negativism, or disruptive behavior, typically consisting of high-pitched screaming.
            hitting his mother, or crying. He showed mild signs of anxiety, when the
            examiner approached him at the beginning of the administration, and when the
            balloon was brought out, but was quickly pacified.
                                                                                                                                             •
            Yaxkin's total score on the ADOS falls well within the range diagnostic of autism
            and an autistic spectrum disorder. NOTE: The Iola/ score includes only algorithm ilems in
            communicaUon and social interaction, and nol olher ilems in these areas or any items In /he areas of play, stereotyped
            behaviors/restricted interests, or other abnormal behaviors. A higher or lower score does NOT necessarily indicate a
            higher or lower severity or presence/absence of overall ASO symptoms and therefore scores were not reported. Although
            research suggests that children as young as 24 months old can be accurately diagnosed using the ADOS, the diagnostic
            thresholds cannot be applied to children with nonverbal mental ages below 15 months. Therefore a diagnosis is made
            primarily through clinical Judgment and diagnostic criteria review (noted below}, with the ADOS and other assessment
            procedures providing additional information to assist in this process.


            DSM-IV-TR Criteria:
            The following criteria from the Diagnostic and Statistical Manual of Mental
            Disorders, Forth Edition. Text Revision (DSM-IV-TR) must be met for a diagnosis
            of Autistic Disorder. Autistic Disorder is one of several diagnoses listed under the category of Pervasive
            Developmental Disorders (also referred to as Autistic Spectrum Disorders or ASD). If the criteria noted below are met,
            Autistic Disorder is diagnosed. For a diagnosis of Asperger's Disorder to be made, criteria cannot be met for another
            Pervasive Developmenlal Disorder (such as Autistic Disorder), and the individual cannot have any clinically significant
            general delay in language, cognitive development, development of self-help skills, adaptive behavior, or curiosity about
            the environment in childhood. A diagnosis of POD-NOS (Pervasive Developmental Disorder Not Otherwise Specified) is
            appropriate only when an individual has a severe and pervasive impairment in the development of reciprocal social
            interaction associated with verbal or nonverbal communication skills or with the presence of stereotyped behavior,
            interests. and activities, but does not fully meer a cf1agnosis for autism or other specified disorders. Autistic Disorder,




                                                                                                                                             •
            Asperger's Disorder, and POD-NOS are all "Autistic Spectrum Disorders·.


            Yaxkin did or did not meet each of the criteria for Autistic disorder in the following
            ways (checked boxes "(g)" indicate Yaxkin has that trait or characteristic):

            A total of six or more items from 1, 2, and 3, with at least two from 1, and
            one each from 2 and 3:

            1. Qualitative impairment in social interaction as manifested by at least two
               of the following:
               ~ a. Marked impairment in the use of multiple nonverbal behaviors such as
                      eye gaze, facial expression, and gestures to regulate social interaction.
                      Yaxkin is improving in his use of eye contact, but it is still fairly poor and
                      inconsistent. He is not yet using other nonverbal behaviors to help him
                      regulate the back and forth interaction.
               !Bl b. Failure to develop peer relationships appropriate to his developmental
                      level. Although Yaxkin 's developmental delay makes this area more
                      challenging to judge, his Jack of interest in peers and tendency to prefer
                      solitary play is atypical.
               ~ c. Lack of spontaneous seeking to share enjoyment, interests, or
                      achievements with other people (e.g., a lack of showing, bringing, or
                      pointing out objects of interest). Yaxkin was observed and reported to
                      rarely if ever share his interests. He is typically content enjoying things
                      on his own.


                                                                  CONT-IVENTIAL




                                                              CONFIDENTIAL
                                                                                                                      P~Bof13




                                                                                                                                YZ,MYR0020
                                                                                                                                             -
                                                                                                                   Exhibit 1KK
                                                                                     White Decl. ISO Disney's SJ Motion P.0706
    Case 2:15-cv-05346-CJC-E Document 469-59 Filed 12/10/20 Page 10 of 14 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33592




               [g] d. Lack of social or emotional reciprocity. Although Yaxkin is becoming
                      more responsive with adults (especially familiar adults) interactions still
                      feel effortful and one-sided much of the time. His reciprocity with familiar
                      children and peers is more noticeably impaired.

             2. Qualitative impairment in communication as manifested by at least~
                of the following:
                [g] a. Delay in the development of spoken language. Yaxkin has a
                       documented speech/language delay, and is still not using any
                       meaningful words.
               •    b. In individuals with adequate speech, marked impairment in the ability to
                       initiate or sustain a conversation with others. Language too limited to
                       judge.
               •    c. Stereotyped and repetitive use of language or idiosyncratic language.
                        Language too limited to judge, although the use of "ma-ma-ma " and
                        screaming may be somewhat repetitive.
                [g] d. Lack of varied, spontaneous make-believe play or social imitative play
                        appropriate to developmental level. Make-believe play is difficult to
                       judge given Yaxkin's young age and developmental delay, however his
                        lack of social imitative play is more clearly concerning.

             3. Restricted repetitive and stereotyped patterns of behavior, interests, and




-
                activities as manifested by at least one of the following:
                [El a. Encompassing preoccupation with one or more stereotyped and
                       restricted patterns of interest that is abnormal either in intensity or focus.
                       Yaxkin was reported to enjoy watching specific movies over and over,
                       with strong interests in stacking blocks repetitively and playing with dirt.
                [g] b. Apparently inflexible adherence to specific, nonfunctional routines or
                       rituals. Yaxkin was observed and reported to engage in rituals such as
                       straightening the Velcro on his shoes, insisting on taking straws out of
                       the cup in a certain angle before moving on with the activity, and other
                       nonfuctional routines.
                [El c. Stereotyped and repetitive motor mannerisms (e.g., hand or finger
                       flapping or twisting, or complex whole-body movements). Yaxkin was
                       observed and reported to engage in galloping, spinning, head-shaking,
                       hand-flapping/tensing, running back-and-forth, and jumping.
                [g] d. Persistent preoccupation with parts of objects. Yaxkin was observed
                       and reported to engage in brief visual examination of parts and objects,
                       and lining up chairs, among other interests.

             Diagnostic Formulation and Summary
             Yaxkin is a 30-month-old Mexican-American male with a history of global
             developmental delays, including speech/language, cognitive, play, and social
             delays, and repetitive behaviors and restricted interests. Based on his behavior
             during testing, as well as his mother's report of his development and functioning,
             Yaxkin clearly meets criteria for a QSM-IV diagnosis of Autistic Disorder.


                                                   COIJFIVENTIAL                        1'~ 9 of13




                                                CONFIDENTIAL                                    YZ,MYR0021

                                                                                                 Exhibit 1KK
                                                                   White Decl. ISO Disney's SJ Motion P.0707
   Case 2:15-cv-05346-CJC-E Document 469-59 Filed 12/10/20 Page 11 of 14 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33593




           Specific criteria are listed above. Asperger's Disorder was ruled out due to his
           current cognitive functioning and speech delay. Autism, Asperger's, and POD-
           NOS (also referred to as Autistic Spectrum Disorders or Pervasive
           Developmental Disorders) are neurodevelopmental biologically-based disorders
                                                                                                                                            -
           that involve life-long deficits in social relating, communication, and behavior.
           Research supports significant gains for many individuals with autistic spectrum
           disorders through early intervention. Indeed , Yaxkin is already showing
           improvements in many areas, and his mother had several stories of celebrated
           gains since starting ABA therapy. It is encouraging that he is already receiving
           evidenced-based treatments and responding well.

           Ms. Rosas had many well-informed questions regarding Yaxkin's diagnosis,
           prognosis, and recommendations. She indicated that she and her extended
           family have been very involved in his ABA program and are doing their best to
           implement techniques outside of therapy. Overall, Yaxkin appears to be
           responding very we·11 to therapy. His potential to make significant gains has been
           increased by his family's pursuit of early diagnosis and treatment.

           Diagnostic Impressions
           Axis I:     299.00 Autistic Disorder
           Axis II:    Deferred
                       Rule out: Mental Retardation

            Recommendations

            1. Yaxkin should continue to be monitored by his physician for any health concerns as
               appropriate. The family is encouraged to share this report with their pediatrician, as
               some genetic testing (e.g., ruling out Fragile X Syndrome, etc.) may be appropriate.

           2. Yaxkin's family is encouraged to continue working with their RCEB Case Manager to
              develop an IFSP appropriate to his disability and intervention needs. The National
              Research Council Committee on Educational Interventions for Children with Autism
              (see reference below), "... recommends that educational services begin as soon as a
              child is suspected of having an autistic spectrum disorder. Those services should
              include a minimum of 25 hours a week, 12 months a year, in which the child is
              engaged in systematically planned, and developmentally appropriate educational
              activity toward identified objectives". Given suspicion of autism the team has already
              implemented intensive ABA therapy through Si Se Puede. and he is reportedly
              responding well.

           3. Intensive intervention based on the California DDS Best Practices, National
              Standards Project findings, and the National Professional Development Center on
              Autism Spectrum Disorders findings (see references below), including some
              structured (e.g., Discrete Trial Training) techniques, but primarily naturalistic
              (incidental teaching , Pivotal Response Training, Early Start Denver Model, etc.)
              Applied Behavior Analysis (ABA) methodologies to increase skills and decrease
              behavior excesses, targeting these areas:
                •   Ability to attend to elements of the environment that are essential for learning, especially to other people
                •   Ability to imitate others, including both verbal imitation and motor imitation


            Teny P~Lut't.C>'W                                  CONFIDENTIAL




                                                            CONFIDENTIAL
                                                                                                                    P0-¥'10 of B




                                                                                                                               YZ.MYR0022
                                                                                                                                            •
                                                                                                                 Exhibit 1KK
                                                                                   White Decl. ISO Disney's SJ Motion P.0708
    Case 2:15-cv-05346-CJC-E Document 469-59 Filed 12/10/20 Page 12 of 14 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33594




                    Ability to communicate with others
                    Ability to play appropriately with toys
                    Ability to socially interact with others
                    Safety skills training


             4. "The National Autism Center launched the National Standards Project in 2005 with
                the support and guidance of an expert panel composed of nationally recognized
                scholars, researchers, and other leaders representing diverse fields of study. The
                culmination of this rigorous multi-year project is the National Standards Report, the
                most comprehensive analysis available to date about treatments for children and
                adolescents with ASD ... The primary goal of the National Standards Project is to
                provide critical information about which treatments have been shown to be effective
                for individuals with ASD." To find out more regarding their findings on the most
                effective treatments for children with autism, see the published results at:
                www.nationalautismcenter.org

             5. An organization has been established to assist parents and professionals in finding
                researched-based interventions and treatment for autistic spectrum disorders at
                www.asatonline.org. The Association for Science in Autism Treatment's mission,
                " ... is to share accurate, scientifically sound information about autism and treatments
                for autism ... "

             6. The National Professional Development Center on Autism Spectrum Disorders is a
                multi-university center to promote the use of evidence-based practice for children
                and adolescents with autism spectrum disorders and can be accessed at




-
                http//autismpdc.fpq.unc.edu

             7. "The Autism Internet Modules were developed with one aim in mind: to make
                comprehensive, up-to-date , and usable information on autism accessible and
                applicable to educators, other professionals, and families who support individuals
                with autism spectrum disorders {ASD). Written by experts from across the U.S., all
                online modules are free, and are designed to promote understanding of, respect for,
                and equality of persons with ASD." These can be accessed at:
                www.autisminternetmodules.org

             8. Consideration of starting speech therapy now that Yaxkin has show progress in ABA
                and is ready to benefit from this service as well. Continued integration of other
                communication tools such as sign language and/or the Picture Exchange
                Communication System {PEGS) as recommended by his therapists to assist in
                developing and using his language across environments. His parents may require
                some training to implement these programs consistently in the home. More
                information about PEGS can be found on their website at: www.pecs .com

             9. Picture schedules can be developed to assist Yaxkin in anticipating the day's
                activities and performing more independently. The following resource may assist his
                family in developing picture schedules:
                    Activity Schedules for Children with Autism. Teaching Independent Behavior {Topics in Autism) by Lynn
                    McClannahan. Patricia Krantz
                    Oo2Leam (down-loadable picture schedules) at www.do2learn.com


             1O. Parents of children with developmental disabilities often experience high levels of
                 stress. Mr. Zavala and Ms. Rosas are encouraged to schedule regular "date nights"


                                                                 CON FIVfNTIA L                                P ~ l l ofl3




                                                               CONFIDENTIAL                                             YZ,MYR0023

                                                                                                             Exhibit 1KK
                                                                               White Decl. ISO Disney's SJ Motion P.0709
   Case 2:15-cv-05346-CJC-E Document 469-59 Filed 12/10/20 Page 13 of 14 Page ID
UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                           #:33595




              with one another, and take time to enjoy their family (non-intervention time). Parent
              support groups and individual counseling are also often helpful in finding a good
              balance.

           11 . Yaxkin's parents may wish to educate themselves on Best Practices for teaching
                                                                                                                                     •
                children with autism. Several books are available including:
                  Early Start Denver Model for Young Children with Autism: Promoting Language Leaming and Engagement by
                  Sally J. Rogers and Geraldine Dawson.
                  Parents' Education as Au/ism Therapists: Applied Behavior Analysis In Context by Keenan, Kerr. &
                  Dillenburger
                  Pivotal Response Trea/menrs for Autism: Communication, Social, & Academic Development by Robert Koegel
                  and Lynn Koegel
                  A Work in Progress by Ron Leaf, John McEachin, Jaisom Harsh
                  Behavioral Intervention for Young Children with Au/ism: A Manual for Parents and Professionals by Catherine
                  Maurice, Gina Green, Stephen Luce
                  Effective Instruction for Children with Autism by Gertrude A. Barber
                  Raising a Child with Autism: A Guide lo Applied Behavior Analysis for Parents by Shira Richman
                  Helping Children with Autism Learn by Bryna Siegel


           12. The following books may be helpful resources to the family:
                  Pasos Hacia Una Vida tndependiente (Steps to Independence) by Bruce Baker & Alan Brightman
                  Overcoming Autism by Lynn Koegel and Claire LaZebnik
                  The World or /he Autisl,c Child: Understanding and treating autistic spec/rum disorder§ by Bryna Siegel.
                  The Out of Sync Child: Recognizing and coping with sensory integration dysfunction by Carol Stock Kranowitz.
                  Whal Aboul Me? Growing Up With a Devetopmenlally Disabled Sibling by Bryna Siegel and Stuart Silverstein


           13. We Care Services for Children offers an Autism Family Support Project, including
               parent education groups, family nights out, parent-to-parent support groups, and




                                                                                                                                     •
               summer camps, among other supports. The family is encouraged to contact the
               Project Coordinator at (925) 671-0777 ext. 14 or vibarra@wecarechildren.org for
               more information. Other supports include:
                  The National Autism Society of America al 800-428-8476 or www autism-sociely.org
                  Families for Early Autism Treatment al (916) 843-1536 or www.feat.org
                  UC Davis M.I.N.D. Institute at (888) 883-0961 or www.mindinstitute.org
                  San Francisco Bay Area Autism Society al www.sfautismsociely.virtualave.net
                  Cure Autism Now (CAN) at (888) 8-AUTISM or W1W1.cureautismnow.org
                  CARE Parent Network at (800) 281-3023 or www.careparentnetwork.org
                  Family Resource Network at (510) 547-7322
                  Autism Speaks, First Signs, and Florida State University have collaborated to develop a Web-based autism
                  video glossary al www.firstsigns.org


           14. Siblings of children with autism are at greater risk for developing autism and other
               developmental disabilities themselves. The family is encouraged to seek genetic
               counseling if planning to have more children. In addition, there are research studies
               currently recruiting siblings of children with autism that may provide free
               developmental assessment and monitoring (see MIND Institute reference below).

           15. Many children with autistic spectrum disorders also have some degree of intellectual
               impairment (mental retardation). It will be important to rule this out by age 6-7, and
               after continued intervention.

           16. Given Yaxkin's diagnoses of Developmental Delay and Autistic Disorder,
               consideration now of Status 2 (after age three) eligibility is recommended. The Case
               Manager will need to consult with Dr. Paul Fujita, RCEB Developmental Pediatrician,
               to see if the RCEB Eligibility Team will need any further information. Any follow-up
               evaluations should be scheduled with a member of the RCEB El Autism Clinic
               team unless otherwise indicated.

                                                           CONFIDENTIAL                                      P~12 of13




                                                         CONFIDENTIAL                                                   YZ.MYR0024

                                                                                                            Exhibit 1KK
                                                                              White Decl. ISO Disney's SJ Motion P.0710
       Case 2:15-cv-05346-CJC-E Document 469-59 Filed 12/10/20 Page 14 of 14 Page ID
,   UNREDACTED VERSION OF DOCUMENT  PROPOSED TO BE FILED UNDER SEAL
                               #:33596




-              Thank you for the opportunity to see Yaxkin and his mother. If there are
               questions regarding this assessment, please do not hesitate to call me at (925)
               933-1833. If there are questions regarding RCEB services, eligibility, or other
               concerns please contact your RCEB Case Manager at (5i0) 618-6100.



                -
                     -k ,,,~:v~--?
                         I
                     •                     L

               Larissa D. Terry, Psy.D., BCBA-O
               Clinical Psychologist (PSY19913)
               Board Certified Behavior Analyst - Doctoral

               Cc:           Patricia Aguinaga, RCEB
                             Paul Fujita. RCEB




-



-                                                             CONFIDENTIA L




                                                             CONFIDENTIAL
                                                                                                   P~13ofl3




                                                                                                          YZ,MYR0025
                                                                                                            Exhibit 1KK
                                                                              White Decl. ISO Disney's SJ Motion P.0711
